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                    UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,


                             Plaintiffs,
    v.


    JASON KESSLER, et al.,

                                            Civil Action No. 3:17-cv-00072-NKM




                             Defendants.

    PLAINTIFFS’ SUPPLEMENTAL CERTIFICATE OF SERVICE OF MOTION FOR
           RULE 37 SANCTIONS AGAINST DEFENDANT JEFF SCHOEP
Case 3:17-cv-00072-NKM-JCH Document 435 Filed 02/28/19 Page 2 of 2 Pageid#: 4121




                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 28, 2019, I served Plaintiffs’ Motion for Rule 37
  Sanctions Against Defendant Jeff Schoep, dated February 27, 2019 (ECF No. 432), and
  accompanying exhibits on the following non-ECF participant, via U.S. mail, First Class and
  postage prepaid, addressed as follows:

         Jeff Schoep
         P.O. Box 13768
         Detroit, MI 48213



                                                     /s/ Robert T. Cahill
                                                     Robert T. Cahill (VSB 38562)
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